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 7

 8                                 UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11

12   THE UNITED STATES OF AMERICA,                      Case No.: 2:13-CR-0166 LKK

13                   Plaintiff,

14   vs.                                                STIPULATION AND ORDER TO

15
     LUIS MAGANA, JUVENAL JUNEZ,
16
     ERIK MORENO
17
                     Defendant
18

19                                            STIPULATION
20
     Plaintiff, United States of America, by and through its counsel of record, and the defendants, by
21   and through their counsels of record, hereby stipulate as follows:

22         1. The parties are set to appear on December 3, 2013 at 9:15 a.m. for status. By this
              stipulation, the defendant, Juvenal Junez, by and through his counsel, now moves to
23
              continue status conference until December 17, 2013 and to exclude time from December
24            3, 2013 to December 17, 2013. Based on the amount of discovery so far provided,
              counsel for defendants need additional time to properly prepare a defense. Counsel for
25            the defendants believe that failure to grant the above requested continuance would deny
              them the reasonable time necessary for effective preparation, taking into account the
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              exercise of due diligence and the Government does not object to the continuance.
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 1      2. Based on the above-stated findings, the ends of justice served by continuing the case as
           requested outweigh the interest of the public and the defendants in a trial within the
 2
           original dates prescribed by the Speedy Trial Act.
 3
        3. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.§ 3161, et seq,
 4         within which trial must commence, the time period of December 3, 2103 to December 17,
           2013, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv),
 5
           Local Code T4, because it results from a continuance granted by the Court at the
 6         defendants’ request on the basis of the Court’s findings that the ends of justice served by
           taking such action outweigh the best interest of the public and the defendants in a speedy
 7         trial. Nothing in this stipulation and order shall preclude a finding that other provisions of
           the Speedy Trial Act dictate that additional time periods are excludable from the period
 8
           within which a trial must commence.
 9

10   IT IS SO STIPULATED.                                 Respectfully submitted,
11
     Dated: November 21, 2013                             ___/s/ authorized 11/21/13_____________
12                                                        MARY ANN F. BIRD
                                                          Attorney for Juvenal Junez
13

14

15   Dated: November 21, 2013                             ___/s/ authorized 11/21/13_____________
                                                          CHRISTIAAN HIGHSMITH
16                                                        Assistant United States Attorney
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19   IT IS SO ORDERED.
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     DATE: November 25, 2013
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     BIRD & VAN DYKE, INC.
     STIPULATION AND ORDER EXCLUDING TIME
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